Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 1 of 21




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      Local Counsel for Plaintiff
 6
 7                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
 8
 9     Douglas Haegg, individually and on              Case No.:
       behalf of all similarly situated individuals,
 10
                     Plaintiff,
 11
       v.
 12                                                    COLLECTIVE AND CLASS ACTION
       Magellan Health, Inc.,                           COMPLAINT AND JURY TRIAL
 13
                                                                DEMAND
 14                  Defendant.
 15
             COMES NOW Plaintiff, DOUGLAS HAEGG                    PLAINTIFF                      his
 16
      undersigned attorneys, and hereby brings this Collective and Class Action Complaint
 17
      against Defendant, MAGELLAN HEALTH, INC.,                                                   :
 18
                                           INTRODUCTION
 19
             1.     This is a class and collective action brought by Plaintiff on behalf of himself
 20
      and all similarly situated current and/or former Customer Service Representative
 21
 22
                                                                                                      -
 23
      350, et seq., and A.R.S. §§ 23-
 24
      obligations (or unjust enrichment if no contract is found), and other appropriate rules,
 25
      regulations, statutes, and ordinances.
 26
             2.                                                        zes that call center jobs, like
 27
 28
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 2 of 21




 1                                                            -
 2    preliminary and postliminary activities. See DOL Fact Sheet #64, attached hereto as
 3    Exhibit A at 2
 4    agents/specialists/representatives working in call centers includes starting the computer to
 5    download work instructions, computer applications and work-
 6
 7    including time spent in pre-shift and post-shift job-                                 Id.
 8           3.
 9    policy and practice of failing to compensate its call center employees for their necessary
 10   boot-up and boot-down time, which resulted in the failure to properly compensate them as
 11   required under applicable federal and state laws.
 12          4.     Plaintiff seeks a declaration that his rights, the rights of the FLSA Collective
 13   Class, and the rights of the Rule 23 Classes were violated and seek to recover an award of
 14   unpaid wages and overtime premiums, liquidated damages, penalties, injunctive and
 15                                                     - and post-judgment interest, and any other
 16   remedies to which they may be entitled.
 17                                JURISDICTION AND VENUE
 18          5.     This Court has subject-matter jurisdiction over Pla
 19
 20   §§ 201, et seq.
 21          6.     This Court has subject-
 22   pursuant to 29 U.S.C. § 216(b), which provides that suits un
 23   maintained against any employer . . . in any Federal or State court of competent
 24
 25          7.
 26   pursuant to 28 U.S.C. § 1367(a) because these claims arise from a common set of operative
 27
 28   a part of the same case or controversy.



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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 3 of 21




 1           8.
 2    they have more than two employees, so the FLSA applies in this case on an enterprise
 3    basis. See 29 U.S.C. § 203(s)(1)(A).
 4           9.
 5    commerce     including, but not limited to utilizing telephone lines and Internet     and
 6    therefore, they are also covered by the FLSA on an individual basis.
 7           10.    This Court has personal jurisdiction over Defendant because it maintains
 8    offices in the State of Arizona.
 9           11.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
 10   Defendant conducts substantial business within this District, and because a substantial
 11   portion of the events that give rise to the claims pled in this Complaint occurred in this
 12   District.
 13                                           PARTIES
 14          12.    Plaintiff is an individual who resides in the County of Yavapai, City of
 15   Prescott, Arizona. Plaintiff worked for Defendant as a Customer Service Representative
 16   from September 2018 to September 2019. Plaintiff executed his Consent to Sue form,
 17   attached hereto as Exhibit B.
 18          13.    Defendant is a Delaware corporation with its principal place of business in
 19   Arizona.
 20          14.    Defendant operates customer service call center locations in Arizona,
 21   California, District of Columbia, Missouri, and Pennsylvania.
 22          15.    Defendant is a managed healthcare company that provides customer service
 23   to health plans and healthcare providers.
 24          16.    Defendant may accept service via its registered agent Corporation Service
 25   Company, 8825 N 23rd Avenue, Suite 100, Phoenix, Arizona 85021.
 26   \\
 27   \\
 28   \\



                                                  3
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 4 of 21




 1                                  GENERAL ALLEGATIONS
 2           17.    Defendant employed Plaintiff as an hourly call center Customer Service
 3
 4
 5           18.                         job duties included answering calls from Defendant
 6    clients, which included healthcare providers and patients, regarding insurance pre-
 7    authorizations for medications, tests, or health services.
 8           19.
 9    worked at least 40 hours per workweek.
 10          20.    Regardless of whether Defendant scheduled Plaintiff to work a workweek
 11   totaling under 40 hours, scheduled to work a workweek totaling 40 hours, or scheduled to
 12   work a workweek totaling in excess of 40 hours, Plaintiff regularly worked a substantial
 13   amount of time off-the-clock as part of his job duties as a CSR. Defendant never
 14   compensated Plaintiff for this time worked off-the-clock.
 15          21.    29 C.F.R. § 553.221 provides:
 16          Compensable hours of work generally include all of the time during which
             an employee is on duty
 17          workplace, as well as all other time during which the employee is suffered or
             permitted to work for the employer. Such time includes all pre-shift and post-
 18          shift activities which are an integral part of the emp
 19          or which are closely related to the performance of the principal activity, such
             as attending roll call, writing up and completing tickets or reports, and
 20          washing and re-racking fire hoses.
 21          22.                                              ties included as an integral part of a

 22   principal activity are those closely related activities which are indispensable to its

 23
 24          A.     Off-the-Clock Boot-Up Work.

 25          23.

 26   clients by use

 27
 28



                                                    4
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 5 of 21




 1           24.
 2    CSRs, must boot up their computers and log in to the various computer programs, servers,
 3
 4    their scheduled shift start time. This boot-up process regularly takes 15 minutes per shift,
 5    or more if technical issues arise. Defendant did not compensate Plaintiff for this time.
 6           25.    Regardless of how long the boot-up and login process takes, Defendant did
 7    not allow Plaintiff, and all other current and/or former CSRs, to clock in until after they
 8    completed the boot-up and login process.
 9           26.    The boot-up procedure Plaintiff, and all other current and/or former CSRs,
 10   must complete before they begin being compensated is the same regardless of which call
 11   center location they worked at. The boot-up and login procedure is integral and
 12
 13
 14          27.    Thus, the unpaid, off-the-clock work performed by Plaintiff, and all other
 15   current and/or former CSRs, directly benefits Defendant.
 16          B. Off-the-Clock Boot-Down Work.
 17          28.    Defendant required Plaintiff, and all other current and/or former hourly
 18   CSRs, to first clock out of the timekeeping system, then spend time logging out of the
 19   necessary programs, servers, and applications, and restarting their computer off-the-clock.
 20   This boot-down process regularly takes 10 minutes per shift.
 21          29.    This off-the-clock boot-down work performed by Plaintiff, and all other
 22   current and/or former hourly CSRs, was integral and indispensable to the primary job
 23                                               nefited Defendant.
 24          C.                                               -the-Clock Work Violates Federal
                    and State Laws.
 25
             30.    At all times relevant, Defendant suffered or permitted Plaintiff, and all other
 26
      current and/or former CSRs, to routinely perform off-the-clock work by not compensating
 27
      its employees for the boot-up and login procedure and the boot-down and logout procedure.
 28



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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 6 of 21




 1           31.    Defendant knew or should have known that it must pay its employees for all
 2    compensable time throughout the workweek. See 29 C.F.R. §§ 553.221, 790.8, 785.19(a).
 3           32.    Despite this, Defendant failed to compensate Plaintiff, and all other current
 4    and/or former CSRs, for their off-the-clock, compensable work performed in any amount.
 5           33.    Defendant knew, or should have known, that the FLSA, 29 U.S.C. § 207,
 6    requires Defendant to compensate non-exempt employees who work in excess of 40 hours
 7    in a workweek at a rate of one and one-half times their regular rate of pay     including the
 8    compensable, off-the-clock work performed.
 9           34.    Despite this, Defendant failed to compensate Plaintiff, and all other current
 10   and/or former CSRs, for their off-the-clock, compensable work performed in excess of 40
 11   hours in a workweek at one and one-half times their regular rates of pay.
 12          35.    Defendant knew or should have known that Arizona wage and hour laws
 13   require an employer to pay employees wages for each hour worked. See A.R.S. § 23-351.
 14          36.    Despite this, Defendant failed to compensate Plaintiff, and all other current
 15                                                                                    Arizona for
 16   their off-the-clock, compensable work performed in workweeks totaling less than 40 hours
 17   and in workweeks totaling in excess of 40 hours at the proper legal rates, including
 18   overtime premiums.
 19          37.    Defendant knew or should have known that Arizona wage and hour laws
 20   require an employer to promptly pay employees for their earned wages. See A.R.S. §§ 23-
 21   351 and 23-353.
 22          38.    In reckless disregard of the FLSA and Arizona wage and hour laws,
 23   Defendant adopted and then adhered to its policy, plan, or practice of employing Plaintiff,
 24   and all other current and/or former CRSs, to perform compensable work off-the-clock. This
 25   illegal policy, plan, or practice caused incorrect payments for all straight time and overtime
 26   performed by Plaintiff, and all other current and/or former CSRs, in violation of the FLSA
 27   and Arizona wage and hour laws.
 28   \\



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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 7 of 21




 1           D.     Recordkeeping.
 2           39.    The Arizona wage and hour laws require that
 3    payroll records showing the hours worked for each day worked, and the wages and earned
 4                                                                     See A.R.S. § 23-364.
 5           40.    Further, 29 C.F.R § 51
 6
 7           41.    Federal regulations mandate each employer to maintain and preserve payroll
 8    or other records containing, without limitation, the total hours worked by each employee
 9    each workday and the total hours worked by each employee each workweek. See 29 C.F.R
 10   § 516.2.
 11          42.    Upon information and belief, Defendant failed to establish, maintain, and
 12   preserve accurate timesheet and payroll records for all hours worked by Plaintiff as
 13   required by the FLSA and Arizona wage and hour laws.
 14          43.    When the employer fails to keep accurate records of the hours worked by its
 15   employees, the rule in Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687 88 (1946)
 16   controls. That rule states:
 17
             has carried out his burden if he proves that he has in fact performed work for
 18          which he was improperly compensated and if he produces sufficient evidence
             to show the amount and extent of that work as a matter of just and reasonable
 19          inference. The burden then shifts to the employer to come forward with
 20          evidence of the precise amount of work performed or with evidence to
             negative the reasonableness of the inference t
 21          evidence. If the employer fails to produce such evidence, the court may then
             award damages to the employee, even though the result be only approximate.
 22
             44.    The Supreme Court set forth this test to avoid placing a premium on an
 23
      em
 24
 25
      compensation as required by the FLSA. Where damages are awarded pursuant to this test,
 26
 27
      precision of measurement that would be possible had he kept records in accordance with .
 28
                   Id.


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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 8 of 21




 1                          COLLECTIVE ACTION ALLEGATIONS
 2           45.    Plaintiff brings this action pursuant to the FLSA, 29 U.S.C. § 216(b)
 3    individually and on behalf of:
 4           All current and former Customer Service Representative employees, and/or
             other job titles performing the same or similar job duties, who worked for
 5
             Magellan Health, Inc., at any time in the last three years.
 6
 7
      definition as necessary.
 8
             46.    Plaintiff does not bring this action on behalf of any executive, administrative,
 9
      or professional employees exempt from coverage under the FLSA.
 10
             47.
 11
      With respect to the claims set forth in this action, a collective action under the FLSA is
 12
      appropriate because, under 29 U.S.C. § 216(b), the call center employees described are
 13
                                                                                     laintiff brings
 14
      this collective action are similarly situated because (a) they have been or are employed in
 15
      the same or similar positions; (b) they were or are subject to the same or similar unlawful
 16
                                                               ces, policies, or plan of not paying
 17
      their CSR employees for their compensable boot-up and boot-down work performed in
 18
      excess of 40 hours per workweek at an overtime premium of at least one and one-half times
 19
      their regular rates of pay); (c) their claims are based upon the same legal theories; and (d)
 20
      the employment relationship between Defendant and every putative FLSA Collective
 21
      member is exactly the same, and differs only by name, location, and rate of pay.
 22
             48.    Upon information and belief, Plaintiff estimates the FLSA Collective,
 23
      including both current and former call center employees over the relevant period, will
 24
      include several hundred members who would benefit from the issuance of court-supervised
 25
      notice of this action and the opportunity to join it. The precise number of the FLSA
 26
 27
      scheduling, time, and payroll records; and from input received from the FLSA Collective
 28
                                              -               vided by 29 U.S.C. § 216(b).


                                                    8
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 9 of 21




 1           49.    Plaintiff shares the same interests as the FLSA Collective members in that
 2    the outcome of this action will determine whether they are entitled to unpaid overtime
 3                                                                        FLSA. Because the facts
 4    in this case are similar, if not altogether identical, and the factual assessment and legal
 5    standards lend themselves to a collective action.
 6      THE ARIZONA WAGE AND HOUR LAW CLASS ACTION ALLEGATIONS
 7           50.    Plaintiff brings this action pursuant to Fed. R. Civ. P. 23 on behalf of a
 8    putative Class defined to include:
 9           All current and former Customer Service Representative employees in
 10          Arizona, and/or other job titles performing the same or similar job duties,
             who worked for Magellan Health, Inc., at any time in the last one year.
 11
                                      Arizona
 12
      definition as necessary.
 13
             51.    Numerosity: The members of the Arizona Class are so numerous that joinder
 14
      of all members in the case would be impracticable, and the disposition of their claims as a
 15
      Class will benefit the parties and the Court. The precise number of Class members should
 16
 17
             52.    Commonality/Predominance: There is a well-defined community of interest
 18
      among Arizona Class members and common questions of both law and fact predominate
 19
      in the action over any questions affecting individual members. These common legal and
 20
      factual questions include, but are not limited to, the following:
 21
                    a.     Whether Defendant violated A.R.S. §§ 23-350 et seq. by failing to pay
 22                        current and former employees for all wages earned;
 23                 b.     The proper measure of damages sustained by the proposed Arizona
                           Class; and
 24
                    c.     Whether Defendant violated A.R.S. § 23-364 by failing to make, keep,
 25
                           and preserve true and accurate payroll records.
 26          53.    Typicality:                                              Arizona Class in that
 27   Plaintiff and all other members suffered damages as a direct and proximate result of
 28



                                                    9
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 10 of 21




  1                                                                               all other Arizona
  2
  3   other Arizona Class members: whether all Arizona Class members were employed by
  4   Defendant on an hourly basis without receiving compensation for all wages earned.
  5            54.   Adequacy: Plaintiff will fully and adequately protect the interests of the
  6   Arizona Class and Plaintiff retained national counsel who are qualified and experienced in
  7   the prosecution of nationwide wage-and-hour class actions. Neither Plaintiff nor his
  8   counsel have interests that are contrary to, or conflicting with, the interests of the Arizona
  9   Class.
 10            55.   Superiority: A class action is superior to other available methods for the fair
 11   and efficient adjudication of the controversy, because, inter alia, it is economically
 12   infeasible for Arizona Class members to prosecute individual actions of their own given
 13   the relatively small amount of damages at stake for each individual along with the fear of
 14   reprisal by their employer. Given the material similarity of the Arizona
 15   claims, even if each Class member could afford to litigate a separate claim, this Court
 16   should not countenance or require the filing of hundreds, or thousands, of identical actions.
 17
 18   cause unavoidable delay, a significant duplication of efforts, and an extreme waste of
 19   resources. Alternatively, proceeding by way of a class action would permit the efficient
 20   supervision of the putative Arizona Class claims, create significant economies of scale for
 21   the Court and the parties, and result in a binding, uniform adjudication on all issues.
 22            56.   The case will be manageable as a class action. This class action can be
 23   efficiently and effectively managed by sending the same FLSA opt-in notice to all
 24   employees similarly situated and adding for the Arizona Class within that group a separate
 25   opt-out notice pertaining to their rights under the Arizona state law. Plaintiff and his
 26   counsel know of no unusual difficulties in the case and Defendant has payroll systems that
 27   will allow the class, wage, and damages issues in the case to be resolved with relative ease.
 28   Because the elements of Rule 23(b)(3), or in the alternative (c)(4), are satisfied in the case,



                                                    10
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 11 of 21




  1   class certification is appropriate. Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co.,
  2                                          ts terms [Rule 23] creates a categorical rule entitling a
  3
  4                BREACH OF CONTRACT CLASS ACTION ALLEGATIONS1
  5          57.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23 on behalf of a
  6   putative Class defined to include:
  7          All current and former Customer Service Representative employees, and/or
             other job titles performing the same or similar job duties, who worked for
  8          Magellan Health, Inc., at any time in the last six years.
  9   (
 10   this definition as necessary.
 11          58.     Numerosity: The members of the Nationwide Class are so numerous that
 12   joinder of all members in the case would be impracticable, and the disposition of their
 13   claims as a Class will benefit the parties and the Court. The precise number of Class
 14
 15
      records.
 16
             59.     Commonality/Predominance: There is a well-defined community of interest
 17
      among Nationwide Class members and common questions of both law and fact
 18
      predominate in the action over any questions affecting individual members. These common
 19
      legal and factual questions include, but are not limited to, the following:
 20
                     a.      Whether Defendant offered to pay Plaintiff and the Nationwide Class
 21                          certain rates (depending on the technical job titles) per hour for each
                             hour worked as call center employees;
 22
                     b.
 23                          offer by performing the essential functions of the job;
 24                  c.      Whether Defendant breached the contract by failing to pay Plaintiff
                             and the Nationwide Class for each and every hour worked; and
 25                  d.      Whether Plaintiff and the Nationwide Class were damaged.
 26
 27   1
       To the extent the Court finds, or Defendant argues, the employment relationship between itself
 28   and its CSRs did not form a contract, Plaintiff reserves the right to seek Rule 23 class certification
      under Plaintiff and the Nationwide                 -contract claims (Count IV).


                                                       11
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 12 of 21




  1          60.    Typicality:
  2   that Plaintiff and all other members suffered damages as a direct and proximate result of
  3
  4   from Defe
  5
  6   as all other Nationwide Class members: whether Defendant and the Nationwide Class
  7   members were employed under an implied contract to be paid for each and every hour
  8
      worked by Defendant.
  9
             61.    Adequacy: Plaintiff will fully and adequately protect the interests of the
 10
      Nationwide Class and Plaintiff retained national counsel who are qualified and experienced
 11
      in the prosecution of nationwide wage-and-hour class actions. Neither Plaintiff nor his
 12
      counsel have interests that are contrary to, or conflicting with, the interests of the
 13
      Nationwide Class.
 14
             62.    Superiority: A class action is superior to other available methods for the fair
 15
      and efficient adjudication of the controversy, because, inter alia, it is economically
 16
      infeasible for Nationwide Class members to prosecute individual actions of their own given
 17
      the relatively small amount of damages at stake for each individual along with the fear of
 18
 19
 20   claims, even if each Nationwide Class member could afford to litigate a separate claim,

 21   this Court should not countenance or require the filing of thousands of identical actions.

 22
 23   cause unavoidable delay, a significant duplication of efforts, and an extreme waste of
 24   resources. Alternatively, proceeding by way of a class action would permit the efficient
 25
 26   for the Court and the parties, and result in a binding, uniform adjudication on all issues.
 27          63.    The case will be manageable as a class action. This class action can be
 28   efficiently and effectively managed by sending the same FLSA opt-in notice to all



                                                   12
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 13 of 21




  1   employees similarly situated and adding for the Nationwide Class within that group a
  2   separate opt-out notice pertaining to their rights under the common law. Plaintiff and his
  3   counsel know of no unusual difficulties in the case and Defendant has payroll systems that
  4   will allow the class, wage, and damages issues in the case to be resolved with relative ease.
  5   Because the elements of Rule 23(b)(3), or in the alternative (c)(4), are satisfied in the case,
  6   class certification is appropriate. Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co.,
  7                                                                               al rule entitling a
  8
  9
                                                COUNT I
 10
                      VIOLATION OF THE FAIR LABOR STANDARDS ACT,
 11                 U.S.C. § 201, et seq., FAILURE TO PAY OVERTIME WAGES
                                         (FLSA Collective Class)
 12
              64.     Plaintiff re-alleges and incorporates all previous paragraphs herein.
 13
              65.
 14
      FLSA, 29 U.S.C. § 203(d), subject to the provisions of 29 U.S.C. §§ 201, et seq.
 15
              66.     Defendant is engaged in interstate commerce or in the production of goods
 16
      for commerce, as defined by the FLSA.
 17
              67.
 18
      within the meaning of the FLSA, 29 U.S.C. § 203(e)(1).
 19
              68.     Plaintiff either (1) engaged in commerce; or (2) engaged in the production of
 20
      goods for commerce; or (3) was employed in an enterprise engaged in commerce or in the
 21
      production of goods for commerce.
 22
              69.     The position of Customer Service Representative is not exempt from the
 23
      FLSA.
 24
              70.                            ob titles performing similar customer service
 25
      representative job duties are not exempt from the FLSA.
 26
              71.
 27
                                                him within the meaning of the FLSA, 29 U.S.C. §
 28
      203(g).


                                                    13
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 14 of 21




  1          72.    The FLSA requires an employer to pay employees the federally mandated
  2   overtime premium rate of one and a half times their regular rate of pay for every hour
  3   worked in excess of 40 hours per workweek. See 29 U.S.C. § 207.
  4          73.    Defendant violated the FLSA by failing to pay Plaintiff the federally
  5   mandated overtime premium for all hours worked in excess of 40 hours per workweek.
  6          74.    Upon information and belief, Defendant has corporate policies of evading
  7   overtime pay for its hourly workers.
  8          75.                     ations of the FLSA were knowing and willful.
  9          76.    By failing to compensate its hourly workers at a rate not less than one and
 10   one-half times their regular rate of pay for work performed in excess of 40 hours in a
 11   workweek, Defendant violated the FLSA, 29 U.S.C. §§ 201, et seq., including 29 U.S.C.
 12   §§ 207(a)(1) and 215(a). All similarly situated CSRs, or other job titles performing the
 13   same or similar job duties, are victims of a uniform and company-wide enterprise which
 14   operates to compensate employees at a rate less than the federally mandated overtime wage
 15   rate. This uniform policy, in violation of the FLSA, has been, and continues to be, applied
 16   to CSRs, or other job titles performing the same or similar job duties, who have worked or
 17   are working for Defendant in the same or similar position as Plaintiff.
 18          77.    None of the provisions of the FLSA can be contravened, set aside, abrogated,
 19   or waived by Plaintiff or the Class.
 20          78.    The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation of
 21   the Act, an employee is entitled to his or her unpaid overtime wages plus an additional
 22
 23                                           COUNT II
 24                      VIOLATIONS OF THE ARIZONA WAGE ACT
                                     (Arizona Class)
 25
             79.    Plaintiff, individually and on behalf of the proposed Arizona Class, re-alleges
 26
      and incorporates by reference the above paragraphs as if fully set forth herein.
 27
 28



                                                   14
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 15 of 21




  1            80.   Plaintiff and members of the Arizona Class are current and former employees
  2   of Defendant within the meaning of A.R.S. § 23-350(2).
  3            81.   Defendant at all relevant times was an employer within the meaning of
  4   A.R.S. § 23-350(3).
  5            82.   Defendant was required to pay Plaintiff and the Arizona Class for all hours
  6   worked.
  7            83.   A.R.S. § 23-
  8
      period, including overtime pay.
  9
               84.   A.R.S. § 23-353 provides that when an employer discharges an employee or
 10
      employee quits, the employer must pay the employee all wages due in a timely manner.
 11
               85.
 12
      return for labor or services rendered by an employee for which the employee has a
 13
      reasonable expectation to be paid whether determined by a time, task, piece, commission
 14
                                                    -350(7).
 15
               86.   Defendant, pursuant to its policies and illegal timekeeping practices, refused
 16
      and failed to pay Plaintiff and the Arizona Class for all hours worked.
 17
               87.   By failing to properly compensate Plaintiff and the Arizona Class for all
 18
 19
 20   reasonable expectation of being paid, Defendant violated, and continues to violate its

 21                                              -351 and 23-353.

 22            88.                                                                             See

 23   A.R.S. §§ 23-352(3), 23-355.
 24            89.                                                      nlawful conduct, Plaintiff
 25   and the proposed Arizona Class have suffered damages in an amount to be determined at
 26   trial.
 27            90.   Plaintiff and the proposed Arizona Class seek damages in the amount of their
 28   unpaid straight-time and overtime wages for all hours worked, treble damages, reasonable



                                                   15
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 16 of 21




  1                                                 - and post- judgment interest, and such other
  2   legal and equitable relief as the Court deems proper.
  3                                           COUNT III
  4                                BREACH OF CONTRACT
  5                         (National Breach of Contract Class Action)
             91.    Plaintiff and the Nationwide Class re-allege and incorporate all previous
  6
  7   paragraphs herein and further allege as follows.

  8          92.    Plaintiff and the Nationwide Class were hired at various times. Defendant

  9   offered to pay Plaintiff and the Nationwide Class certain rates per hour for each hour

 10
 11   paystubs and other records that Defendant prepares as part of its regular business activities.
 12          93.    Plaintiff and the Nationwide Class accepted the offer and worked for
 13   Defendant as CSR, and/or other job titles performing the same or similar job duties.
 14          94.    Plaintiff and the Nationwide Class also accepted the offer by their
 15   performance    i.e., reporting for work and completing the tasks assigned to them.
 16          95.                                                                            -up and
 17   boot-down time.
 18          96.    Plaintiff and every other Nationwide Class member performed under their
 19   contract by doing their jobs in addition to carrying out the off-the-clock duties Defendant
 20
      required.
 21
             97.    Upon information and belief, Defendant does not compensate its CSRs,
 22
      and/or other job titles performing the same or similar job duties, until after the boot-up and
 23
      login procedures are complete.
 24
             98.    Upon information and belief, Defendant stops compensating its CSRs, and/or
 25
      other job titles performing the same or similar job duties, before the boot-down and logout
 26
      procedures are complete.
 27
 28



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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 17 of 21




  1          99.    Despite being required to complete these integral job duties, Plaintiff and the
  2   Nationwide Class were not compensated at their hourly rate for their work performed.
  3          100.   By failing to pay Plaintiff and the Nationwide Class for the boot-up and boot-
  4   down time Defendant breached its contract with Plaintiff and the Nationwide Class to pay
  5   their hourly rate for each hour worked.
  6          101.   Defendant also breached its duty to keep accurate records to keep track of
  7   the time Plaintiff and other Nationwide Class members spent doing boot-up and boot-down
  8
  9
             102.   In sum, the facts set forth above establish the following elements and terms
 10
      of the contract:
 11
                    a.       Offer: a set hourly rate for each hour worked as a CSR;
 12                 b.       Acceptance: Plaintiff and the Nationwide Class accepted the offer
 13                          overtly or via performance (i.e., each showed up to work and
                             completed the tasks assigned to them by Defendant);
 14                 c.       Breach: Defendant did not pay Plaintiff and the Nationwide Class for
                             each hour (or part thereof) worked; and
 15
                    d.       Damages: By failing to pay Plaintiff and the Nationwide Class their
 16                          hourly rate for each hour worked, Plaintiff and the Class were
                             damaged in an amount to be determined at trial.
 17
             103.   These claims are appropriate for nationwide class certification under Rules
 18
      23(b)(3) and/or (c)(4) because the law of contracts is substantially similar throughout the
 19
      United States.
 20
             104.
 21
      Nationwide Class were damaged in an amount to be proven at trial.
 22
                                              COUNT IV
 23
               QUASI-CONTRACTUAL REMEDIES: UNJUST ENRICHMENT
 24                      (National Unjust Enrichment Class)
 25          105.   Plaintiff and the Nationwide Class re-allege and incorporate all previous
 26   paragraphs herein and further allege as follows.
 27          106.
 28                      -up and boot-down time    which is integral and indispensable to their



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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 18 of 21




  1   principal activities as a CSR provided valuable work and income for Defendant; namely,
  2   compensation to Defendant for completing customer service activities that directly
  3   benefited Defendant.
  4          107.   Boot-up Time: Plaintiff and the Nationwide Class were unable to perform
  5   any job function without booting up and logging in to their computers and required
  6   programs. In short, in order to start their work of fielding customer calls precisely at their
  7   designated start time, Plaintiff and the Nationwide Class worked off-the-clock before their
  8   shift began. Without the boot-up time, Plaintiff and the Nationwide Class were unable to
  9   take customer calls at their designated start time. Further, upon information and belief,
 10   Defendant does not compensate its CSRs until after the boot-up procedures are complete.
 11          108.   Boot-down Time: Plaintiff and the Nationwide Class could not leave the call
 12   center until they logged out of all programs and restarted their computers after they
 13   clocked-out. Without the boot-down time, Plaintiff and the Nationwide class were unable
 14   to prepare for their next shift. Upon information and belief, Defendant does not compensate
 15   its CSRs for the boot-down procedure.
 16          109.   As part of their ongoing employment relationships with Defendant, Plaintiff
 17   and other Nationwide Class members expected to be paid wages for the time they spent
 18   doing their jobs, including performance of the necessary boot-up and boot-down
 19   procedures performed each shift.
 20          110.   By not paying Plaintiff and other Nationwide Class members for the time
 21   they spent performing necessary boot-up and boot-down activities, Defendant was, and
 22   continues to be, unjustly enriched at the expense of Plaintiff and the Nationwide Class in
 23   an amount to be determined at trial.
 24          111.   By not paying Plaintiff and other Nationwide Class members for the time
 25   they spent performing necessary activities, Defendant also saved, and continues to save,
 26   itself hundreds-of-thousands of dollars in unpaid payroll taxes       taxes that would have
 27
 28



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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 19 of 21




  1         112.   It would be unjust and inequitable to allow Defendant to retain the benefit of
  2   the work performed by Plaintiff and the Nationwide Class without compensation.
  3         113.   These claims are appropriate for nationwide class certification under Rules
  4   23(b)(3) and/or (c)(4) because the law of unjust enrichment is substantially similar
  5   throughout the United States.
  6         114.
  7   and the Nationwide Class were harmed at an amount to be proven at trial.
  8                                   PRAYER FOR RELIEF
  9         WHEREFORE, Plaintiff requests the following relief:
 10
                   a.     An Order certifying this case as a collective action in accordance with
 11                       29 U.S.C. § 216(b) with respect to the FLSA claims set forth above;
 12                b.     An Order certifying the Arizona state law class action pursuant to
                          Rule 23 of the Federal Rules of Civil Procedure;
 13
                   c.     An Order certifying this action as a class action (for the Rule 23
 14                       Breach of Contract Nationwide Class or for the Rule 23 Unjust
 15                       Enrichment Nationwide Class if no contract is found) pursuant to Rule
                          23 of the Federal Rules of Civil Procedure;
 16
                   d.     An Order compelling Defendant to disclose in computer format, or in
 17                       print if no computer readable format is available, the names,
 18                       addresses, and email addresses of all those individuals who are
                          similarly situated, and permitting Plaintiff to send notice of this action
 19                       to all those similarly situated individuals including the publishing of
 20                       notice in a manner that is reasonably calculated to apprise the potential
                          class members of their rights under this litigation;
 21
                   e.     An Order designating Plaintiff to act as the Class Representatives on
 22                       behalf of all individuals in the Arizona Class;
 23                f.     An Order designating the Named-Plaintiff to act as the Nationwide
 24                       Class Representative on behalf of all similarly situated individuals for
                          both the FLSA and the Rule 23 Breach of Contract or Unjust
 25                       Enrichment Nationwide Classes;
 26                g.     An Order declaring that Defendant willfully violated the FLSA and
                          its attendant regulations as set forth above;
 27
                   h.     An Order declaring that Defendant violated its obligations under the
 28
                          FLSA;


                                                  19
Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 20 of 21




  1                 i.     An Order declaring that Defendant willfully violated Arizona Wage
  2                        and Hour Law and its attendant regulations as set forth above;

  3                 j.     An Order granting judgment in favor of Plaintiff and against
                           Defendant and awarding the amount of unpaid minimum wages, and
  4                        overtime pay calculated at the rate of one and one-half (1.5) of
  5
                           excess of 40 hours per week;
  6
                    k.     An Order awarding liquidated damages to Plaintiff, in an amount
  7                        equal to the amount of unpaid wages found owing to Plaintiff under
                           the FLSA, in addition to all penalties and damages owed under the
  8
                           Arizona Wage Act and its attendant regulations as set forth above;
  9
                    l.
 10                        Plaintiff in filing this action;
 11                 m.     An Order awarding pre- and post-judgment interest to Plaintiff on
                           these damages; and
 12
                    n.     An Order awarding such further relief as this court deems appropriate.
 13
 14                                        JURY DEMAND

 15         NOW COMES Plaintiff, by and through his undersigned attorneys, and hereby
 16 demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure and the
 17 court rules and statutes made and provided with respect to the above-entitled cause.
 18          Dated: January 12, 2022.
 19                                               Respectfully Submitted,
 20
                                                  By: /s/ Richard P. Traulsen
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 26
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Case 2:22-cv-00061-SPL Document 1 Filed 01/12/22 Page 21 of 21




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